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                             BEFORE THE UNITED STATES
                    JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


In re: COVID-19 BUSINESS                              :
INTERRUPTION PROTECTION                               :   MDL No. 2942
INSURANCE LITIGATION                                  :



         ALLIANZ'S INTERESTED PARTY RESPONSE IN OPPOSITION TO
        PLAINTIFFS’ PETITIONS FOR TRANSFER AND COORDINATION OR
                    CONSOLIDATION UNDER 28 U.S.C. § 1407

       In accordance with Rule 6.2(e) of the Rules of Procedure of the Judicial Panel on

Multidistrict Litigation (the "Panel"), Allianz Global Risks US Insurance Company, AGCS

Marine Insurance Company, Allianz Underwriters Insurance Company, Fireman's Fund

Insurance Company, American Automobile Insurance Company, Associated Indemnity

Corporation, Chicago Insurance Company, Interstate Fire & Casualty Company, Fireman's Fund

Indemnity Corporation, National Surety Corporation, and The American Insurance Company

(collectively "Allianz"), as interested parties, respectfully oppose the various Plaintiffs’ Petitions

for Transfer and Coordination or Consolidation Under 28 U.S.C. § 1407 (Dkt. Nos. 1, 4), and all

papers filed in support or partial support of those petitions (Dkt. Nos. 9, 19, 169, 184, 189, 369,

391, 396) (collectively, the “Petitions”).

       Allianz has been named as a defendant in certain Covid-19 business interruption

coverage actions, which have not (yet) been referred to the Panel.

       Allianz hereby joins the Response in Opposition to Plaintiffs’ Motions for Transfer and

Coordination or Consolidation Under 28 U.S.C. § 1407 filed by O'Melveny & Myers LLP on

behalf of Interested Parties Westchester Surplus Lines Insurance Company and Indemnity

Insurance Company of North America (the "Response"). (Dkt. No. 376).

       For the reasons stated in the Response, the Panel should deny the Petitions.
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Dated: June 5, 2020                       Respectfully submitted,
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                                          Insurance Company, Associated Indemnity
                                          Corporation, Chicago Insurance Company,
                                          Interstate Fire & Casualty Company,
                                          Fireman's Fund Indemnity Corporation,
                                          National Surety Corporation, and The
                                          American Insurance Company




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